905 F.2d 1529Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Walter DEATON, Petitioner-Appellant,v.Mason WATERS, Warden, Maryland Correctional Institution;Attorney General of the State of Maryland,Respondents-Appellees.
    No. 90-6054.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 16, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (C/A No. 89-2177-S)
      James Walter Deaton, appellant pro se.
      Thomas Kevin Clancy, Assistant Attorney General, Baltimore, Maryland, for appellees.
      D.Md.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      James Walter Deaton seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Deaton v. Waters, CA-89-2177-S (D.Md. Mar. 2, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    